          Case 2:19-cv-01130-RSL Document 103 Filed 03/08/21 Page 1 of 4
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                                                                 The Honorable Robert S. Lasnik
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 4
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 7
 8
                                   UNITED STATES DISTRICT COURT
 9                                WESTERN DISTRICT OF WASHINGTON

10   Firs Home Owners Association,
                                                         NO. 2:19-cv-01130-RSL
11                           Plaintiff,
12                                                       DECLARATION OF QUINN N. PLANT
     v.                                                  IN SUPPORT OF DEFENDANT'S
13                                                       MOTION TO EXCLUDE EXPERT
     City of SeaTac, a Municipal Corporation,            OPINION TESTIMONY OF DR.
14                                                       LAMONT GREEN
                           Defendant.
15
16
            Pursuant to 28 U.S.C. § 1746, I, Quinn N. Plant state and declare under penalty of
17
     perjury as follows:
18
            1.      I am an attorney of record for defendant City of SeaTac. This declaration is
19
20   based on my own personal knowledge.

21          2.      On December 10, 2020, the plaintiff produced an expert report prepared by

22   the Racial Equity Action Lab. A true and correct copy of the transmittal email and expert
23
     report is attached hereto as Exhibit A.
24
            3.      On January 12, 2021, the plaintiff produced a copy of Dr. LaMont Green's
25
     resume, a true and correct copy of which is attached as Exhibit B.
26
27
28   DECLARATION OF QUINN PLANT                                            MENKE JACKSON BEYER, LLP
                                                                                 807 North 39th Avenue
     IN SUPPORT OF DEFENDANT'S MOTION                                             Yakima, WA 98902
29   TO EXCLUDE EXPERT OPINION TESTIMONY
                                                                                Telephone (509)575-0313
                                                                                   Fax (509)575-0351
     OF DR. LAMONT GREEN - 1
30   NO. 2:19-cv-01130-RSL
         Case 2:19-cv-01130-RSL Document 103 Filed 03/08/21 Page 2 of 4
 1
 2          4.      On January 13, 2021, the plaintiff provided a second supplemental response

 3   to discovery propounded by defendant City of SeaTac. In this response, the plaintiff
 4
     revealed that they intended to call Dr. LaMont Green as a testifying expert. A true and
 5
     correct excerpt of the discovery response is attached as Exhibit C.
 6
            5.      On page 7 of the REAL report, Dr. Green gives a two sentence definition of
 7
     the term "microaggression," for which he cites following website:
 8
 9   diversity.nih.gov/sociocultural-factors/microaggressions. On March 8, 2021, I printed a

10   copy of this webpage page. The website contains the first, but not the second, sentence of

11   the definition quoted by Dr. Green on page 7 of the REAL report. A true and correct
12   printout of the cited webpage is attached hereto as Exhibit D.
13
            6.      On October 6, 2016, the SeaTac City Council held a town hall meeting.
14
     Residents of the Firs Mobile Home Park attended the meeting. They were accompanied by
15
     an employee of the Tenants Union of Washington State, Monica Mendoza-Castrejon.
16
17   During the public comment section of the meeting, the residents gave public comment about

18   the proposed closure of the Firs Mobile Home Park. The City had portions of the audio

19   recording of this meeting transcribed. The transcript was produced to the plaintiff in
20   discovery.
21
            7.      By email on January 12, 2020, the HOA's legal counsel disclosed documents
22
     that had been assembled and transmitted to REAL (or Dr. Green) for review. These
23
     documents included the transcript of the October 6, 2016, town hall meeting. This transcript
24
25   is referenced on pages 3 and 4 of the REAL report. A true and correct copy of the transcript

26   has been filed at Dkt. #93-9.

27
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28   IN SUPPORT OF DEFENDANT'S MOTION
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                                                                                   Yakima, WA 98902
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 2          8.      On October 17, 2016, the City's planning staff approved the relocation plan

 3   submitted by Fife Motel.
 4
            9.      On October 25, 2016, the SeaTac City Council held a study session.
 5
     Residents of the Firs Mobile Home Park attended the study session. They were again
 6
     accompanied by Ms. Mendoza-Castrejon. During the public comment section of the
 7
     meeting, the residents again gave public comment about the proposed closure of the Firs
 8
 9   Mobile Home Park. The City had portions of the audio recording of this meeting

10   transcribed. The transcript was produced to the plaintiff in discovery.

11          10.     By email on January 12, 2020, the HOA's legal counsel disclosed documents
12   that had been assembled and transmitted to REAL (or Dr. Green) for review. These
13
     documents included the transcript of the October 25, 2016, town hall meeting. This
14
     transcript is referenced on pages 5 of the REAL report. A true and correct copy of the
15
     transcript has been filed at Dkt. #93-10.
16
17          I declare under penalty of perjury under the laws of the State of Washington that the

18   foregoing declaration is true and correct.

19          DATED THIS 8th day of March, 2021, at Yakima, Washington.
20
21                                                        /s/ Quinn N. Plant
                                                          QUINN N. PLANT
22
23
24
25
26
27
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 1
 2                                  CERTIFICATE OF SERVICE

 3
            I hereby certify that on March 8, 2021, I filed the foregoing with the Clerk of the
 4
 5   Court using the CM/ECF System, which will send notification of such filing to the

 6   following:

 7   V. Omar Barraza                                     omar@barrazalaw.com
     Christina L. Henry                                  chenry@hdm-legal.com
 8   Mary E. Mirante Bartolo                             mmbartolo@seatacwa.gov
 9   Mark S. Johnsen                                     mjohnsen@seatacwa.gov
     Brendan W. Donckers                                 bdonckers@bjtlegal.com
10
     and I hereby certify that I have mailed by United States Postal Service the document to the
11
     following non-CM/ECF participants:
12
13          None.

14                                                s/ QUINN N. PLANT
                                                  WSBA #31339
15                                                Menke Jackson Beyer, LLP
                                                  Attorneys for Defendant
16                                                807 North 39th Avenue
17                                                Yakima, Washington 98902
                                                  Telephone: (509) 575-0313
18                                                Fax: (509) 575-0351
                                                  Email: qplant@mjbe.com
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27
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